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3055 Wilshire Blvd, 12th Floor




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Los Angeles, CA 90010-1137
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                                 14              FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                 15
                                      MOHAMED HUSSAIN, individually Case No.: 3:21-cv-04678-EMC
                                 16   and on behalf of all others similarly
                                 17   situated,                             CLASS ACTION

                                 18                        Plaintiff,        Hon. Judge Edwin M. Chen
                                 19         v.
                                                                             JOINT STIPULATION TO DISMISS
                                 20   THE REALREAL, INC., a Delaware         CASE WITH PREJUDICE
                                 21   corporation; and DOES 1 to 10,         PURSUANT TO F.R.C.P.
                                      inclusive,                             RULE 41(A); [PROPOSED] ORDER
                                 22
                                 23                       Defendants.
                                                                             Complaint Filed: June 17, 2021
                                                                             Trial Date:      None Set
                                 24
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                                 28

                                                     JOINT STIPULATION TO DISMISS CASE WITH PREJUDICE
                                                Case 3:21-cv-04678-EMC Document 24 Filed 08/18/22 Page 2 of 2



                                 1              Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,
                                 2    Plaintiff Mohamed Hussain and Defendant The Realreal, Inc., stipulate and jointly
                                 3    request that this Court enter a dismissal with prejudice as to Plaintiff’s individual
                                 4    claims in their entirety and without prejudice as to the claims of absent putative
                                 5    class members in the above-entitled action. Each party shall bear his or its own fees
                                 6    and costs.
                                 7
                                 8    Dated: August 18, 2022                     WILSHIRE LAW FIRM, PLC
                                 9
                                                                                 /s/ Thiago M. Coelho, Esq.
                                 10                                              Thiago M. Coelho, Esq.
                                 11                                              Attorney for Plaintiff and
                                                                                 Proposed Class
                                 12
                                      Dated: August 18, 2022                     LEWIS BRISBOIS BISGAARD &
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Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                                                                 SMITH LLP
                                 14
                                 15                                              /s/ Melissa T. Daugherty, Esq.
                                                                                 Melissa T. Daugherty, Esq.
                                 16                                              Attorney for Defendant
                                 17
                                 18                                SIGNATURE ATTESTATION
                                 19             I hereby attest that all signatories listed above, on whose behalf this joint
                                 20   stipulation is submitted, concur in the filing’s content and have authorized the
                                 21   filing.
                                 22   Dated: August 18, 2022                     WILSHIRE LAW FIRM, PLC
                                 23
                                                                                 /s/ Thiago M. Coelho, Esq.
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                                                                                 Thiago M. Coelho, Esq.
                                 25                                              Attorney for Plaintiff and
                                                                                 Proposed Class
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                                                         JOINT STIPULATION TO DISMISS CASE WITH PREJUDICE
